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                                     NOTICE OF DEFICIENCY

To:       W Lyon Chadwick , Jr

Case No.: 1:19-cv-00145


         General
         1RSD\PHQWVXEPLWWHG
                   $PRXQWGXH
         $WWRUQH\QRWUHJLVWHUHGIRU&0(&)                                ✔

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         Complaints
         &RYHUVKHHWQRWLQFOXGHG
         6XPPRQVQRWFRPSOHWHGRUILOOHGRXWLPSURSHUO\
         ,QFRUUHFWSDUW\QDPHDGGHG
         ,QFRUUHFWSDUW\UROH
         ,QFRPSOHWHQDPH
         1DPHLQDOOFDSV
         $GGUHVVLQIRUPDWLRQVKRXOGQRWKDYHEHHQHQWHUHG
         ,QFRUUHFWFDXVHRIDFWLRQFKRVHQ
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         )LOHGLQZURQJFDVH
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         VVLJQDWXUHPLVVLQJ
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         0XOWLSDUWPRWLRQQRWVHOHFWHG
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         2WKHU

      Action to be taken: Please register for CM/ECF at
                             https://www.tned.uscourts.gov/content/attorney-ecf-registration-form




         Informational only:

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